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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
                  v.                             :       Case No. 21-cr-203 (JDB)
                                                 :
ALEXANDER SHEPPARD,                              :
              Defendant.                         :


                       JOINT MOTION TO CONTINUE STATUS HEARING

           The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the defendant, Alexander Sheppard, respectfully move this

Honorable Court to continue the status hearing currently set for June 21, 2022, to a date in

approximately forty-five days, with time excluded under the Speedy Trial Act in the interests of

justice.

           In support of this motion, the parties submit that they have been engaged in discussions

regarding a possible pre-trial resolution of this case. While those discussions have progressed

significantly, the parties wish to take additional steps, including conducting a reverse proffer with

the defendant, and need time to prepare and schedule such a meeting.

           The parties are available for a status hearing the week of July 25, 2022.

           The parties further agree that the interests of justice will be served by excluding time and

outweigh the defendant’s and the public’s interest in a speedy trial.
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       WHEREFORE, the parties respectfully ask this Court to continue the status hearing to a

date the week of July 25, 2022.



                                                  Respectfully submitted,

                                                  MATTHEW M. GRAVES
                                                  UNITED STATES ATTORNEY

                                          By:     /s/ Mary L. Dohrmann
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                                                  /s/ Maria Jacob
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